IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
Vv. No. 20-3024-01-CR-S-BP

MICHAEL DAVID MILLER,

 

Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Timothy A. Garrison, United States Attorney, and Ami Harshad Miller,
Assistant United States Attorney, and the defendant, Michael David Miller (“the defendant’),
represented by Shane Cantin and Erica Mynarich.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to
Count | of the indictment, charging him with a violation of 18 U.S.C. § 2422(b), that is, enticement
and coercion of a minor. By entering into this plea agreement, the defendant admits that he

knowingly committed this offense, and is, in fact, guilty of this offense.

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3 Factual Basis for Guilty Plea. The parties agree that the facts constituting the
offense to which the defendant is pleading guilty are as follows:

On May 23, 2019, Kennebecasis, Ottawa, Canada, Police Constable Jacquelyn
Curren received multiple reports from minor female children, 12 to 13 years old,
that an older male known as “Carl” was communicating with them on SnapChat,
which utilizes the Internet or a cellular network to function. The minor females
reported that Carl, who was later identified to be the defendant, Michael David
Miller, was asking the females to engage in sexually explicit activity, sent videos
and/or images depicting minors engaged in sexually explicit conduct, and
masturbating while on video chat with some of the minors. All the minors reported
their true ages to the defendant.

On May 27, 2019, law enforcement sent an emergency request to SnapChat.
SnapChat generated a CyberTip 499987705 with the National Center for Missing
and Exploited Children (NCMEC). Snap Chat submitted 68 files with the
CyberTip, which they had viewed prior to their submission. Twenty-five files
contained suspected child pornography. The files included sent and received files
between January 6, 2019, and May 29, 2019.

HSI Ottawa issued an investigative subpoena to SnapChat on June 7, 2019, for
subscriber data. SnapChat’s return indicated three IP addresses utilized by the
amishjuo account between May 26, 2019, and May 29, 2019, including
2600:1008:b156:3985:7193:d0al:3708:4f9d. On June 7, 2019, HSI Ottawa issued
an investigative subpoena to Verizon Wireless for subscriber information for IP
address 2600:1008:b156:3985:7193:d0al :3708:4f9d on May 28, 2019, at 23:20:52
UTC. Verizon’s return identified the subscriber as Michael D Miller, with an
address in Springfield, Missouri. Verizon also identified a second address as 323
26" Avenue, Apartment B, Sheldon, Iowa.

HSI and Southwest Missouri Cyber Crimes Task Force (SMCCTF) Officer Brian
Martin received the case for follow-up investigation. TFO Martin reviewed the
files submitted with the CyberTip and confirmed that many of the files contained
child pornography, that is, children less than 18 years of age engaged in sexually
explicit conduct.

May 20, 2019, Springfield, Missouri, Police Department Detective and SMCCTF
TFO Lee Walker began an investigation into the defendant after receiving
information from an adult female, R.T. regarding conduct by the defendant via text
messages and video chat through the Duo application. Based upon this
investigation, on July 18, 2019, SPD executed a search warrant at the defendant’s
residence SPD seized multiple devices from Miller’s residence. CFA Michael
Costello completed the forensic examination of Miller’s devices and located videos
and images of child pornography on the defendant’s Lenovo laptop computer.

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4, Use of Factual Admissions and Relevant Conduct. The defendant
acknowledges, understands and agrees that the admissions contained in paragraph 3 and other
portions of this plea agreement will be used for the purpose of determining his guilt and advisory
sentencing range under the United States Sentencing Guidelines (“U.S.S.G.”), including the
calculation of the defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The
defendant acknowledges, understands and agrees that the conduct charged in any dismissed counts
of the indictment, as well as all other uncharged, related criminal activity, may be considered as
“relevant conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the
charge to which he is pleading guilty.

a. Statutory Penalties. The defendant understands that, upon his plea of guilty to the
Count 1 indictment, charging him with attempted coercion and enticement of a minor, the
minimum penalty the Court may impose is not less than ten (10) years’ imprisonment, while the
maximum penalty the Court may impose is not more than life imprisonment, not less than five (5)
years’ supervised release, a $250,000.00 fine, an order of restitution, and a $100 mandatory special
assessment per felony count of conviction, which must be paid in full at the time of sentencing.
The defendant further understands that this offense is a Class A felony.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to
the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s

applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b, the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

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c. in addition to a sentence of imprisonment, the Court may impose a
term of supervised release of at least five (5) years:

d. if the defendant violates a condition of his supervised release, the
Court may revoke his supervised release and impose an additional period of
imprisonment of up to 5 (five) years without credit for time previously spent on
supervised release; however, if the Court revokes the supervised release because
the defendant committed a criminal offense under chapter 109A, 110 (child
pornography offenses) or 117 or Section 1201 or 1591 of Title 18 of the United
States Code, the law may allow the Court to impose a period of imprisonment of
five (5) years without credit for time previously spent on supervised release. In
addition to a new term of imprisonment, the Court also may impose a new period
of supervised release, the length of which cannot exceed life, less the term of
imprisonment imposed upon revocation of the defendant’s first supervised release;

ec the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f. any sentence of imprisonment imposed by the Court will not allow
for parole;
g. the Court is not bound by any recommendation regarding the

sentence to be imposed or by any calculation or estimation of the Sentencing
Guidelines range offered by the parties or the United States Probation Office; and

h. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court.

in Government’s Agreements. Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea
agreement, agrees not to bring any additional charges against the defendant for any federal criminal
offenses related to production, receipt, and/or distribution of child pornography, or coercion and
enticement of a minor for which it has venue and which arose out of the defendant’s conduct
described above, including any offenses for which this district has venue for offenses arising out
of Nebraska Investigative Report #19013236. The United States Attorney’s Office for the Western

District of Wisconsin also agrees not to bring any additional charges against the defendant for any

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federal criminal offenses related to production, receipt, and/or distribution of child pornography,
or coercion and enticement of a minor for which it has venue and which arose out of the
defendant’s conduct reported in Washington County Sheriffs Office Incident Report #17-025663.
The Government will also dismiss Count 2 at the time of sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives his right to challenge the initiation
of the dismissed or additional charges against him if he breaches this agreement. The defendant
expressly waives his right to assert a statute of limitations defense if the dismissed or additional
charges are initiated against him following a breach of this agreement. The defendant further
understands and agrees that, if the Government elects to file additional charges against him
following his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character and conduct
of the defendant, including the entirety of his criminal activities. The defendant understands these

disclosures are not limited to the counts to which he has pleaded guilty. The United States may

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respond to comments made or positions taken by the defendant or the defendant’s counsel, and to
correct any misstatements or inaccuracies. The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure.

9, Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court
rejects the plea agreement, or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that, if the Court accepts his plea of guilty and this plea
agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, he will not be permitted to withdraw his plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory

in nature. The Court may impose a sentence that is either above or below the

defendant’s applicable Guidelines range, provided the sentence imposed is not

“unreasonable”:

b. The applicable Guidelines section for the offense of conviction is
U.S.S.G. § 2G1.3, which provides for a base offense level of 28;

Cs There are no agreements as to enhancements or cross-references.

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d. The defendant has admitted his guilt and clearly accepted
responsibility for his actions, and has assisted authorities in the investigation or
prosecution of his own misconduct by timely notifying authorities of his intention
to enter a plea of guilty, thereby permitting the Government to avoid preparing for
trial and permitting the Government and the Court to allocate their resources
efficiently. Therefore, he is entitled to a 3-level reduction pursuant to § 3E1.1(b)
of the Sentencing Guidelines. The Government, at the time of sentencing, will file
a written motion with the Court to that effect, unless the defendant: (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

é. The parties agree that the Court will determine his applicable
criminal history category after receipt of the presentence investigation report
prepared by the United States Probation Office;

f. The defendant understands that the estimate of the parties with
respect to the Guidelines computation set forth in the subsections of this paragraph
does not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw his plea of guilty;

g. The defendant understands that the Court may impose any sentence
authorized by law, including any sentence outside the applicable Guidelines range
that is not “unreasonable.” However, while the United States does not agree that a
sentence outside the Guidelines range is appropriate, the defendant may argue for
a sentence outside the Guidelines range. The agreement by the Government not to
seek a departure from the Guidelines is not binding upon the Court or the United
States Probation Office, and the Court may impose any sentence authorized by law,
including any sentence outside the applicable Guidelines range that is not
“unreasonable”;

h, The defendant consents to judicial fact-finding by a preponderance
of the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination beyond
a reasonable doubt of all facts used to determine and enhance the sentence imposed,
and waives any right to have those facts alleged in the indictment. The defendant
also agrees that the Court, in finding the facts relevant to the imposition of sentence,
may consider any reliable information, including hearsay; and

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iy The defendant understands and agrees that the factual admissions
contained in paragraph 3 of this plea agreement, and any admissions that he will

make during his plea colloquy, support the imposition of the agreed upon

Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge, and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in paragraph 10 and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that, if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by the defendant to be sentenced pursuant to the new Guidelines will make this plea
agreement voidable by the United States at its option. If the Government exercises its option to
void the plea agreement, the United States may charge, reinstate, or otherwise pursue any and all
criminal charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by the defendant at
the sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charge in the indictment;

c. oppose any arguments and requests for relief the defendant might

advance on an appeal from the sentence imposed, and that the United States remains
free on appeal or collateral proceedings to defend the legality and propriety of the
sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or
other relief.

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14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the

following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;
b. the right to be presumed innocent until his guilt has been established

beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective
assistance of counsel:

d. the right to confront and cross-examine the witnesses who testify
against him;

é, the right to compel or subpoena witnesses to appear on his behalf;
and

f. the right to remain silent at trial, in which case his silence may not
be used against him.

The defendant understands that, by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that, if he pleads guilty, the Court
may ask him questions about the offense to which he pleaded guilty, and if the defendant answers
those questions under oath and in the presence of counsel, his answers may later be used against
him in a prosecution for perjury or making a false statement. The defendant also understands that
he has pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or
ammunition and might be deprived of other rights, such as the right to vote or register to vote, hold
public office, or serve on a jury.

IS. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that, by

pleading guilty pursuant to this plea agreement, he waives his right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,

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except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial
misconduct; and

b. The defendant expressly waives his right to appeal his sentence,
directly or collaterally, on any ground except claims of: (1) ineffective assistance
of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal his sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that he understands and agrees to the following financial obligations:

a. The Court may order restitution to the victims of the offense to
which the defendant is pleading guilty. The defendant agrees that the Court may
order restitution in connection with the conduct charged in any counts of the
indictment which are to be dismissed and all other uncharged, related criminal
activity;

b. The United States may use the Federal Debt Collection Procedures
Act and any other remedies provided by law to enforce any restitution order that
may be entered as part of the sentence in this case and to collect any fine;

es The defendant will fully and truthfully disclose all assets and
property in which he has any interest, or over which the defendant exercises control,
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution order in full:

d. Within ten (10) days of the execution of this plea agreement, at the
request of the USAO, the defendant agrees to execute and submit: (1) a Tax
Information Authorization form; (2) an Authorization to Release Information; (3)
a completed financial disclosure statement; and (4) copies of financial information
that the defendant submits to the U.S. Probation Office. The defendant understands
that compliance with these requests will be taken into account when the United
States makes a recommendation to the Court regarding the defendant's acceptance
of responsibility;

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Bi At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution;

i. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to him to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence;

g. The defendant understands that a Special Assessment will be
imposed as part of the sentence in this case. The defendant promises to pay the
Special Assessment of $100.00 by submitting a satisfactory form of payment to the
Clerk of the Court prior to appearing for the sentencing proceeding in this case.
The defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment
of this obligation at the time of sentencing;

h. The defendant understands that in addition to the assessment
imposed under section g, pursuant tol8 U.S.C. § 3014, because the defendant has
pled guilty to an offense under 18 U.S.C. Chapter 110, the court shall assess an
amount of $5,000 on the defendant, unless the court finds the defendant to be
indigent;

i. The defendant certifies that he has made no transfer of assets or
property for the purpose of: (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; or (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover, the
defendant promises that he will make no such transfers in the future; and

j. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered plea of guilty shall remain in effect and cannot be
withdrawn.

17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

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States any records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,
or the Privacy Act of 1974, 5 U.S.C. § 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of his claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that, in the event he violates this plea
agreement, all statements made by him to law enforcement agents subsequent to the execution of
this plea agreement, any testimony given by him before a grand jury or any tribunal, or any leads
from such statements or testimony, shall be admissible against him in any and all criminal
proceedings. The defendant waives any rights that he might assert under the United States
Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the
Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any
statements made by him subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that he has entered

 

into this plea agreement freely and voluntarily after receiving the effective assistance, advice and

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approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreemeht, have been made by the United States, the Court, his
attorneys, or any other party to induce him to enter his plea of guilty.

ZI. Sex Offender Registration. The defendant acknowledges that he has been
advised, and understands that, by pleading guilty to the instant offense, he will be required under
the Sex Offender Registration and Notification Act (SORNA), a federal law, to register as a sex
offender and keep the registration current in each of the following jurisdictions: where he resides;
where he is employed; and where he is a student. The defendant also acknowledges that he
understands that the requirements for registration include providing his name, his residential
address, the names and addresses of any places where he is, or will be, an employee or student,
or any other relevant information. The defendant further acknowledges that he understands that
the requirement to keep the registration current includes registering in the jurisdiction in which
he resides, is an employee, or is a student, and must be done within 72 hours of any such change
in status. The defendant also agrees that he will provide his Probation Officer proof of registration
within 72 hours of release from imprisonment, and abide by all state and federal sex offender
registration laws, as well as abiding by all of his Probation Officer’s directives.

The defendant acknowledges that he has been advised, and understands, that failure to
comply with these obligations could subject him to either state or federal prosecution for failure
to register, pursuant to Title 18 U.S.C. § 2250, which is punishable by a fine or imprisonment, or

both.

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22: No Undisclosed Terms. The United States and the defendant acknowledge and
agree that the above stated terms and conditions, together with any written supplemental agreement
that might be presented to the Court in camera, constitute the entire plea agreement between the
parties, and that any other terms and conditions not expressly set forth in this agreement or any
written supplemental agreement do not constitute any part of the parties’ agreement and will not
be enforceable against either party.

23. Defendant Will Surrender to Custody At The Plea. The defendant understands
that the crime to which he is pleading guilty, coercion and enticement, is one of the offenses listed
in 18 U.S.C. § 3142(H(1)(A), (NC)(B) or (HU\(C). Accordingly, pursuant to 18 U.S.C. §
3143(a)(2), the Court must detain the defendant after he pleads guilty. The defendant agrees not
to contest being detained immediately after the Court’s acceptance of the guilty plea, and to

surrender to the custody of the U.S. Marshals at that time.

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24. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether
or not that party was involved in drafting or modifying this agreement.

Timothy A. Garrison
United States Attorney

Dated: 4 2A By we LW , TA °
Ami Harshad Miller ~ LL

Assistant United States Attorney
Missouri Bar No. 57711

 

[ have consulted with my attorney and fully understand all of my rights with respect to the offense
charged in the indictment. Further, I have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines. I have read this plea agreement
and carefully reviewed every part of it with my attorney. I understand this plea agreement and I
voluntarily agree to it.

Dated: G| 2 0 ee
Michael David Miller
Defendant

We are defendant Michael David Miller’s attorney. We have fully explained to him his
rights with respect to the offense charged in the indictment. Further, we have reviewed with him
the provisions of the Sentencing Guidelines which might apply in this case. We have carefully
reviewed every part of this plea agreement with him. To our knowledge, Michael David Miller’s

decision to enter into this plea agreement is an ae and voluntary one.

Dated: 2 Zo ; SF

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Erica Mynarich
Attorneys for Defendant

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